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       EXHIBIT U
    PUBLIC REDACTED
        VERSION
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 5
                                     UNITED STATES DISTRICT COURT
 6
                                  NORTHERN DISTRICT OF CALIFORNIA
 7
                                               SAN JOSE DIVISION
 8

 9
     APPLE INC., a California corporation,                  Case No.11-cv-01846-LHK
10
                              Plaintiff,                    REBUTTAL EXPERT REPORT
11            v.                                            OF TERRY L. MUSIKA, CPA
12   SAMSUNG ELECTRONICS CO., LTD., a
     Korean business entity; SAMSUNG
13   ELECTRONICS AMERICA, INC., a New York
     corporation; SAMSUNG
14   TELECOMMUNICATIONS AMERICA, LLC, a
     Delaware limited liability company,
15

16                            Defendants.
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21
                                        SUBJECT TO PROTECTIVE ORDER
22
                           HIGHLY CONFIDENTIAL – ATTORNEYS’ EYES ONLY
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     REBUTTAL EXPERT REPORT OF TERRY L. MUSIKA, CPA
     Case No. 11-cv-01846-LHK
      Case 5:11-cv-01846-LHK Document 2454-9 Filed 09/25/13 Page 3 of 5
                   HIGHLY CONFIDENTIAL – ATTORNEYS’ EYES ONLY


 1          cleaners, smartphones, telecommunication systems, digital cameras and camcorders, semiconductors

 2          and TV panels.32 For example, in 2009 Samsung’s total worldwide sales of Samsung products that

 3          embody the Samsung Feature Patents In Suit were $1.8 billion.33 Total sales in 2009 for SEC were

 4          $119 billion.34 Accordingly, Dr. O’Brien attempts to equate products that represent less than two

 5          percent of the sales to 100 percent of the corporate worldwide R&D expense.

 6   42.    Dr. O’Brien’s failure to establish any causal connection or relationship of the worldwide SEC R&D

 7          to the Samsung Feature Patents In Suit in his determination of an appropriate reasonable royalty rate

 8          renders his conclusions unsupported, speculative and unreliable.

 9         Dr. O’Brien’s Criticism of Apple’s License Production is Incorrect

10   43.    I have been informed by counsel that Apple searched for and produced patent license agreements

11          related to the accused iPhone, iPad, and iPod Touch products. However, Apple did not produce other

12          non-patent types of agreements for which it pays royalties related to the accused products, such as

13          copyright, trademark, software, and data licensing agreements. I understand that Samsung did not

14          produce such non-patent agreements either. These other types of agreements account for the

15          unproduced agreements from the royalty reports referenced by Dr. O’Brien.35

16         Dr. O’Brien Failed to Consider that the Majority of Apple Licenses are Lump Sum Payments

17   44.    My review of 56 Apple licenses produced in this matter finds that nearly all of Apple’s licenses

18          involve lump sum payments for rights to a portfolio of worldwide patents. 36 I identified seven

19          exceptions which are listed below:

20             x   Creative Technology Cross License and Settlement37

21             x   Nokia Cross License and Settlement38

22
     32
        2009 Samsung Electronics Annual Report, pp. 30-37.
23   33
        SAMNDCA00376902 to SAMNDCA00377405 at SAMNDCA00376906. I have not included sales of additional products
     which embody the Samsung Feature Patents In Suit included in the file SAMNDCA00372946 because those sales take place after
24   2009.
     34
        2009 Samsung Electronics Annual Report, p. 44.
25   35
        Expert Report of Vincent E. O’Brien, March 22, 2012, pp. 10-11.
     36
        The Apple licenses are specifically listed in Exhibit 3.
26   37
        Binding Term Sheet between Apple Computer Inc. and Creative Technology LTD and Creative Labs, Inc., August 22, 2006
     (APLNDC-WH0000536155 to APLNDC-WH0000536171).
27   38
        Patent License Agreement between Nokia and Apple Inc., dated June 12, 2011 (APLNDC-X0000007220 to APLNDC-
     X0000007335).
28
     REBUTTAL EXPERT REPORT OF TERRY L. MUSIKA, CPA
     Case No. 11-cv-01846-LHK                                                                                               12
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 1            x    Ericsson Cross License 39

              x
                                                                            40
 2                 VoiceAge Corporation and Nokia Cross License

 3            x    Audio MPEG, Inc. License 41

 4            x    Audio MPEG, Inc. License 42

 5            x    Via Licensing Corporation License 43

 6   45.   Dr. O’Brien proposes per unit royalties for the Samsung Feature Patents In Suit while failing to

 7         consider that the majority of Apple’s licenses involved lump sum payments. My review identified

 8         seven exceptions out of 56 licenses where a running royalty was included as a financial component of

 9         an Apple license. Dr. O’Brien does not specifically reference any of these eight licenses in

10         determining his per unit royalty rates.

11         Dr. O’Brien’s Use of the Klausner Agreement is Speculative and Unsupported and Materially

12         Overstates Any Damages Due to the Alleged Infringement of the ‘055 Patent

13   46.   Dr. O’Brien indicates that the ‘055 Patent cites US Patent No. 5,375,018 (“the ‘018 Patent”). Further,

14         Dr. O’Brien indicates that the ‘018 Patent was included in a portfolio of patents licensed to Apple by

15         Klausner                                                              . Based solely on the reference by the ‘055

16         Patent to the ‘018 Patent, Dr. O’Brien concludes “Given the nature of this patent I conclude that this

17         license is comparable to a hypothetical license to the ‘055 World Clock patent.”44

18   47.   I am unaware of any financial, economic or other precedential basis wherein the reference of one

19         patent to another patent within the patent text establishes an acceptable basis for the determination of

20         a reasonable royalty rate. Even more significantly, the facts concerning the licensing of the ‘018

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     39
        Global Patent License Agreement between Apple Inc. and Telefonaktiebolaget L M Ericsson, dated January 14, 2008
23   (APLNDC-WH0000536194 to APLNDC-WH0000536213).
     40
        Patent License Narrowband AMR and Wireband AMR Standards between Apple Computer, Inc. and VoiceAge Corporation
24   and Nokia Corporation, June 3, 2003 (AppDel0158906 to AppDel0158943).
     41
        License Agreement between Audio MPEG, Inc., Societa’ Italiana Per Lo Sviluppo Dell’Elettronica, S.I.SV.EL, S.P.A. and
25   Apple Computer, Inc., July 1, 2005 (APLNDC-WH0000725229 to APLNDC-WH0000725257).
     42
        Software License Agreement between Audio MPEG, Inc., Societa’ Italiana Per Lo Sviluppo Dell’Elettronica, S.I.SV.EL, S.P.A.
26   and Apple Computer Inc., January 1, 2006 (APLNDC-WH0000725258 to APLNDC-WH0000725288).
     43
        MPEG-4 Audio Patent License Agreement between Apple Computer, Inc. and Via Licensing Corporation, October 6, 2003
27   (APLNDC-WH0000725289 to APLNDC-WH0000725319).
     44
        Expert Report of Vincent E. O’Brien, March 22, 2012, p. 12.
28
     REBUTTAL EXPERT REPORT OF TERRY L. MUSIKA, CPA
     Case No. 11-cv-01846-LHK                                                                                                  13
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